            Case 1:21-cr-00092-TNM Document 97 Filed 03/20/22 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA,

                 v.
                                                          CASE NO. 21-CR-092 (TNM)
  COUY GRIFFIN,

  Defendant.

                      GOVERNMENT’S MOTION FOR CLARIFICATION

        The United States seeks clarification of the Court’s March 18, 2022 Memorandum Order

[Dkt. # 92] (“Order”).

        In the Order, the Court granted the government’s request to preclude cross-examination

regarding the following: (1) “Secret Service [USSS] protocols related to the locations where

protectees or their motorcades are taken during emergencies” and (2) “details about the nature of

Secret Service VIP-protection operations.” Id. at 3. The Court, however, denied the government’s

request to preclude cross-examination regarding “information related to the location of Vice

President Pence . . . .” Id.

        The government understands that certain information regarding the Vice President’s

location on January 6, 2021, may be relevant. 1 The defendant is charged with violations of 18


        1
               The relevance of such evidence should be evaluated within the full context of the
statute which reflects that a “restricted building or grounds” is not limited to the location where
the Vice President was actually present; instead, it includes locations where he “will be temporarily
visiting.” 18 U.S.C. § 1752(c)(1)(B). See Third Amended Information [Dkt. #85]. Accordingly,
the government can prove the charged offenses without establishing that the Vice President was
actually present at the Capitol on January 6, 2021 at the time of the defendant’s alleged offense.

       Nevertheless, evidence the government will adduce at trial makes clear that Vice President
Pence was in the Senate Chamber in the early afternoon on January 6, 2021, and he returned to the
Senate Chamber later that evening. The Vice President was evacuated from the chamber by the
USSS due to the breach of the Capitol. He was scheduled to return and, indeed, did return once
          Case 1:21-cr-00092-TNM Document 97 Filed 03/20/22 Page 2 of 3




U.S.C. §§ 1752(a)(1) & (2). Both offenses involve entering a “restricted building or grounds,”

which is defined as any posted, cordoned off, or otherwise restricted area of a building or grounds

where the Vice President is or will be temporarily visiting. 18 U.S.C. § 1752(c)(1)(B) & (2).

       By precluding the defendant from eliciting testimony regarding “locations where

protectees . . . are taken during emergencies” or “details about the nature of Secret Service VIP-

protection operations” (Order at 4), the Court has held that certain information regarding the Vice

President’s whereabouts on January 6 should not be adduced. Additionally, testimony regarding

the precise location of the Vice President following his emergency evacuation from the Senate

Chamber on January 6, 2021, is both irrelevant to the charged offenses and potentially harmful to

the USSS’s ability to protect the Vice President and others in the future. Accordingly, we ask the

Court to clarify that, while the defendant may elicit testimony related to the Vice President’s

location on January 6, 2021, that does not mean that he may elicit testimony to establish the Vice

President’s precise location at all times that day—specifically, those instances where such

testimony would reveal “locations where protectees . . . are taken during emergencies” in violation

of the Order.



                                                      Respectfully Submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney

                                              By:          /s/
                                                      Janani Iyengar
                                                      NY Bar No. 5225990
                                                      Kimberly L. Paschall
                                                      D.C. Bar No. 1015665

the Capitol was secured. This alone establishes that the Capitol and its grounds were a restricted
area at the time of the charged offenses because, at the very least, it was a location where the Vice
President “will be temporarily visiting.”

                                                 2
Case 1:21-cr-00092-TNM Document 97 Filed 03/20/22 Page 3 of 3




                                  Assistant United States Attorneys
                                  555 Fourth Street, N.W., Room 4237
                                  Washington, DC 20530
                                  Janani.iyengar@usdoj.gov
                                  (202) 252-7760




                              3
